Dear Auditor McCaskill:
This office received your letter of March 8, 2006, submitting a fiscal note and fiscal note summary prepared under Section116.175, RSMo, for an initiative petition, submitted by Marc Ellinger (version 2), to adopt an amendment to Article VI, Section 21 of the Constitution of Missouri, relating to eminent domain and development of floodplains, wetlands, and agricultural land. The fiscal note summary that you submitted is as follows:
The fiscal impact to state and local government is unknown.
Under Section 116.175, we approve the legal content and form of the fiscal note summary. Because our review of the fiscal note summary is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
Very truly yours,
  JEREMIAH W. (JAY) NIXON Attorney General